CaSe 2:04-cr-20386-SH|\/| Do m n '
IN THE UNI%L§Des“tl“§t§s:'s:'|le)(isc,)§§lll<é%£;CES§$low Page'D 53

FOR THE WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

Hmvyw`F.$flhqu

(."l
' m

\!`\! iv

v. No. 04-20386-D

 

CI'IRIS ANTI'ION'Y PARKS

 

OR`.DER CONTINUING ARRAIGNMENT AND
SPECIF'YING PERIOD OF EXCLUDABLE DELAY UN'DER THE SPEEDY TRIAL ACT

 

Defendant's counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy Trial Act, as set in 18 U.S.C. §316l(h)(8)(A), a
defendant may be granted a period of excludable delay if the ends
of justice are served.

The Arraignment is therefore continued and reset to Wednesday,
MaV 18, 2005, at 10200 a.m. in Courtroom #M»?>l 9th Floor, Federal
Building, 167 N. Main Street, Memphis, Tennessee.

It is therefore ORDERED that the time period of May lll 2005
through, Maz 17l 2005 be excluded from the time its imposed by the
Speedy Trial Aot for trial of this case, due to the interests of

justice.

’I'his ll day of M};l-£e? 2005. /

Diane K. Vescovo
U'NITED STA'I'ES MAGISTR.ATE JUDGE

This document entered on the docket sheet In compliance

with sum 55 annum az(b) mch on ,5’[[ ;Qs’ gaf

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20386 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

